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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NORTH DAKOTA

UNITED STATES OF AMERICA,

Case No. Enter Case /°/9-Cr-O 79

- Plaintiff,
V.

C&J WELL SERVICES, INC.,

 

Defendant.

UNOPPOSED MOTION TO WAIVE PREPARATION OF A PRE-SENTENCE
INVESTIGATION REPORT AND TO PROCEED TO SENTENCING AT THE TIME OF
ARRAIGNMENT AND GUILTY PLEA

The United States, through undersigned counsel, respectfully requests that the Court
waive the preparation of a pre-sentence investigation report and proceed to sentencing at the time
of the arraignment and guilty plea inthis case. Counsel for the Defendant, C&J Well Services,

_ does not oppose this motion and joins in the request for a consolidated plea and sentencing
hearing without the preparation of a presentence investigation report.

The Defendant has been charged in a one count Information with a criminal violation of
the Occupational Safety and Health Act, 29 U.S.C. 666(e). The United States and the Defendant
have entered into a plea agreement pursuant to Rule 11(c)(1)(C) of the Federal Rules of Criminal
Procedure, under which the parties agree that a specific sentence is the appropriate disposition of
the case and further agree to make a specific sentencing recommendation that binds the court if
the court accepts the Defendant’s guilty plea.

Rule 32(c) of the Federal Rules of Criminal Procedure permits the Court to forego a

presentence investigation if the Court finds that the information in the record enables it to

meaningfully exercise its sentencing authority under Title 18, United States Code, Section 3553,
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and the Court explains its finding on the record. Similarly, Rule 11(c)(3)(A) of the Federal Rules
of Criminal Procedure permits a Court to accept a Rule 11(c)( 1(C) plea agreement without the
preparation of a presentence report.

- The government respectfully submits that the record before the Court, including the
Information, the Statement of Facts, and the Plea Agreement, enables the Court to meaningfully
exercise its sentencing authority, and that the agreed-upon sentence—which includes a $500,000
. fine, $1.6 million in restitution to the victim’s estate, and a three-year term of corporate
probation with special conditions related to government inspections of the Defendant’s facilities
and equipment—appropriately accounts for the Section 3553 sentencing factors. Because the
crime of conviction is a Class B misdemeanor, the sentencing guidelines do not apply.
U.S. SENTENCING GUIDELINES MANUAL § 1B1.9.

Because restitution in this matter already has been calculated and agreed to, the
government does not believe that a presentence investigation of potential restitution is required
under 18 U.S.C. § 3664(d)(2). The government has satisfied its obligations under 18 U.S.C. §
3771, and has been and will remain in communication with the victim’s representative (the
executor of his estate and nearest surviving family member), who does not object to the
restitution order or any other provision of the plea agreement. The victim’s representative
wishes to attend the plea/sentencing hearing contemplated by this motion.

Proceeding to sentencing at the time of the plea hearing would reduce the travel burden:
and costs on the Parties and members of the victim’s family, none of whom are located in or near

North Dakota. As indicated above, the Defendant joins in the request for a consolidated hearing.
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CONCLUSION

The government respectfully requests that the Court waive preparation of a presentence

investigation report and schedule this matter for a combined plea and sentencing hearing.

By:

Respectfully submitted,

JEAN E. WILLIAMS

Deputy Assistant Attorney General
Env’t and Natural Resources Div.
U.S. Department of Justice

nak Pawn

Samuel Charles Lord

- Trial Attorney

Christopher J. Costantini
Senior Trial Attorney

Environmental Crimes Section
U.S. Department of Justice
601 D St. NW, #2012
Washington, D.C. 20004
(202) 205-0328

Samuel.Lord@usdoj.gov
Dated: June 3, 2019
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CERTIFICATE OF SERVICE
I certify that on June 3, 2019, a true and correct copy of the Unopposed Motion to
Waive Preparation of a Pre-Sentence Investigation Report and to Proceed to Sentencing at

the Time of Arraignment and Guilty Plea was filed with the Court and served on the following

by email:

Nadira Clarke, Esq.

Counsel for C&J Energy Services
KattenMuchinRosenman LLP
2900 K Street NW

North Tower — Suite 200
Washington, DC 20007-5118
Nadira.Clarke@kattenlaw.com

Samuel Charles Lord

Trial Attorney
U.S. Department of Justice
